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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY
Caption in compliance with D.N.J. LBR 9004-1(b)
                                                                 Order Filed on December 31, 2020
                                                                 by Clerk
HILL WALLACK LLP                                                 U.S. Bankruptcy Court
Elizabeth K. Holdren, Esq.                                       District of New Jersey

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Attorneys for NewRez LLC d/b/a Shellpoint
Mortgage Servicing as servicer for The Bank Of
New York Mellon FKA The Bank Of New York,
As Trustee For The Certificateholders Of The
CWABS Inc., Asset-Backed Certificates, Series
2006-16

                                                  Case No. 20-10017-JNP
In Re:
                                                  Chapter 13
Albert F. Lawes,
                                                  Hearing Date: December 22, 2020
                    Debtors.

                     ORDER VACATING THE AUTOMATIC STAY

    The relief set forth on the following pages, numbered two (2) through three (3), is hereby
ORDERED.




 DATED: December 31, 2020
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_____________________________________________________________________________________

       Upon the Motion of Jenkins & Clayman, attorneys for the debtor, Albert F. Lawes

(“Debtor”) to Vacate Dismissal of Case (“Motion”) and Hill Wallack LLP, attorneys for NewRez

LLC d/b/a Shellpoint Mortgage Servicing as servicer for The Bank Of New York Mellon FKA

The Bank Of New York, As Trustee For The Certificateholders Of The CWABS Inc., Asset-

Backed Certificates, Series 2006-16 (hereinafter collectively "Secured Creditor”) having filed

opposition thereto, and the Debtor having consented to grant Secured Creditor relief from the

automatic stay as a condition of the entry of an Order granting Debtor’s Motion to Vacate

Dismissal, and for cause shown, it is hereby

       ORDERED as follows:

       The automatic stay of Bankruptcy Code Section 362(a) is vacated to permit the movant

its successors and/or assigns to institute or resume and prosecute to conclusion one or more

action(s) in the court(s) of appropriate jurisdiction to foreclose mortgage(s) held by the movant

upon the following:

       Real property commonly known as 801 Renaissance Drive, Williamstown, New Jersey
       08094, also known as Lot 8 in Block 110.0404 on the Tax Map of the Township of
       Monroe, County of Gloucester, State of New Jersey.

       It is further ORDERED that the Secured Creditor, its successors or assignees, may

proceed with its rights and remedies under the terms of the subject mortgage and pursue its state

court remedies including, but not limited to, taking the property to sheriff’s sale, in addition to

potentially pursuing other loss mitigation alternatives, including, but not limited to, a loan

modification, short sale or deed-in-lieu foreclosure. Additionally, any purchaser of the property

at sheriff’s sale (or purchaser’s assignee) may take any legal action for enforcement of its right to

possession of the property.
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_____________________________________________________________________________________
       It is further ORDERED that the Secured Creditor may join the debtor and any trustee

appointed in this case as defendants in its action(s) irrespective of any conversion to any other

chapter of the Bankruptcy Code.

       It is further ORDERED that all communications sent by Secured Creditor in connection

with proceeding against the property including, but not limited to, notices required by state law

and communications to offer and provide information with regard to a potential Forbearance

Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement, or other

Loan Workout, may be sent directly to Debtor.

       Counsel for Secured Creditor shall serve this Order on the Debtor, Debtor’s counsel, any

trustee, and other party who entered an appearance on the motion.
